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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND



 FTI CONSULTING,INC.,

    Plaintiff, ,

     V.                                                      Civ. No. 23-3200 PJM

 JONATHAN M.ORSZAG,

     Defendant.


                                    MEMORANDUM OPINION


          In this diversity-jurisdiction case, FTI Consulting, Inc.("FTI") has sued the former leader

of one of its subsidiaries, Jonathan Orszag, to prevent him from carrying out his alleged plans to

poach its employees and compete with FTI. Orszag responded to FTFs initial Corhplaint with a

Motion to Dismiss(ECF Nos. 18,19), which the Court dismissed as moot upon the filing of FTI's

Second Amended Complaint. ECF No.63;see Second Am. Compl.("SAC"),ECF No.48. Orszag

has filed a renewed Motion to Dismiss the Second Amended Complaint(ECF Nos. 52,53), which

is now fully briefed(ECF Nos.59,61).No further hearing is necessary. See D. Md.Local R. 105.6.

For the following reasons, the Court will GRANT IN PART and DENY IN PART Orszag's

Motion to Dismiss the Second Amended Complaint(ECF Nos. 52, 53).

                                          BACKGROUND^

          FTI, a Maryland corporation with its principal place of business in Bowie, Maryland,

professes to be "one ofthe largest consulting firms in the world." SAC          I, 8.



'As will be explained below, for the purposes of resolving a motion to dismiss, the Court must accept all
well-pled facts in a complaint as true. See E.I. du Font de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d
435, 440(4th Cir. 2011). Accordingly, this Background section recounts the facts as they appear in FTI's
Second Amended Complaint. At this stage, the Court does not express any view as to whether the facts
alleged in the Second Amended Complaint are true.

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